      Case 4:07-cv-05944-JST Document 3213 Filed 12/18/14 Page 1 of 4




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11
     Attorneys for Defendant Beijing Matsushita
12   Color CRT Co., Ltd.

13
                                   UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15
                                         SAN FRANCISCO DIVISION
16
     IN RE: CATHODE RAY TUBE (CRT)                          Case No. 3:07-cv-5944 SC
17   ANTITRUST LITIGATION                                   MDL No. 1917
18                                                          STIPULATION OF DISMISSAL
                                                            WITHOUT PREJUDICE
19   This document relates to:
20   Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,
     No. 11-cv-05513
21
22

23           IT IS HEREBY STIPULATED AND AGREED by and between counsel for Plaintiffs
24   Best Buy Co., Inc.; Best Buy Purchasing LLC; Best Buy Enterprise Services, Inc.; Best Buy
25   Stores, L.P.; Bestbuy.com, L.L.C.; and Magnolia Hi-Fi, LLC (collectively, “Best Buy”) and
26   Defendant Beijing Matsushita Color CRT Co., Ltd. (“BMCC”) as follows:
27
28
     STIPULATION OF DISMISSAL WITHOUT PREJUDICE
     (Case No. 3:07-cv-05944)
                                                                                                 1
      Case 4:07-cv-05944-JST Document 3213 Filed 12/18/14 Page 2 of 4




1           1.      Best Buy’s claims against BMCC in the above-captioned action are dismissed,

2    without prejudice, pursuant to Rule 41(a) of the Federal Rules of Civil Procedure; and

3           2.      BMCC’s Motions for Summary Judgment [MDL Dkt. 2987, 2990] are withdrawn

4    as to Best Buy.

5           3.      Each party shall bear its own attorneys’ fees and costs.

6           4.      This stipulation does not affect the rights or claims of Best Buy against any other

7    defendant or alleged co-conspirator in this litigation.

8           5.      WHEREFORE, the undersigned parties respectfully request that the Court enter

9    this Stipulation as an Order.

10          IT IS SO STIPULATED.

11
12                                              FRESHFIELDS BRUCKHAUS DERINGER US LLP
     Dated: December 18, 2014
13

14                                              By:     /s/ Richard Snyder
                                                      Richard Snyder (pro hac vice)
15                                                    Terry Calvani (53260)
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25

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     STIPULATION OF DISMISSAL WITHOUT PREJUDICE
     (Case No. 3:07-cv-05944)
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      Case 4:07-cv-05944-JST Document 3213 Filed 12/18/14 Page 3 of 4




1                                              ROBINS, KAPLAN, MILLER & CIRESI L.L.P.

2    Dated: December 18, 2014

3                                              By:     /s/ David Martinez
                                                     David Martinez
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8                                               Attorneys for Best Buy Co., Inc.; Best Buy Purchasing
                                                LLC; Best Buy Enterprise Services, Inc.; Best Buy
9                                               Stores, L.P.; Bestbuy.com, L.L.C.; and Magnolia Hi-Fi,
                                                LLC
10

11
            Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
12
13   document has been obtained from each of the above signatories.

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     STIPULATION OF DISMISSAL WITHOUT PREJUDICE
     (Case No. 3:07-cv-05944)
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      Case 4:07-cv-05944-JST Document 3213 Filed 12/18/14 Page 4 of 4




1                                    CERTIFICATE OF SERVICE
2           I, Richard Snyder, declare that I am over the age of eighteen (18) and not a party to the

3    within action. I am Counsel with the law firm of Freshfields Bruckhaus Deringer US LLP, 700

4    13th Street, NW, 10th Floor, Washington, DC 20005.

5           On December 18, 2014, I caused a copy of the foregoing STIPULATION OF
6    DISMISSAL WITHOUT PREJUDICE to be filed electronically via the Court’s Electronic
7    Case Filing System, which constitutes service in this action pursuant to the Court’s order of
8    September 29, 2008.
9
10
     Dated: December 18, 2014                     FRESHFIELDS BRUCKHAUS
11                                                DERINGER US LLP
12                                                By: /s/ Richard Snyder
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     STIPULATION OF DISMISSAL WITHOUT PREJUDICE
     (Case No. 3:07-cv-05944)
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